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                                                                                                          1

                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                             A N D E R S O N/ G R E E N W O O D D I V I S I O N


    U N I T E D S T A T E S O F A M E R I C A,                 }   8 : 1 9 - C R - 0 0 1 8 1- D C C - 3
                                                               }
                     VERSUS                                    }   APRIL 11, 2019
                                                               }
    JAMAL DEMARCUS LATIMER                                     }   G R E E N V I L L E, S C
    -------------------------------                            }



                    BEFORE THE HONORABLE JACQUELYN D. AUSTIN
                          UNITED STATES MAGISTRATE JUDGE


                                  TRANSCRIPT OF PROCEEDINGS
                                   BOND/DETENTION HEARING



    A P P E A R A N C E S:

    F O R T H E G O V E R N M E N T: L E E S A W A S H I N G T O N, A U S A
                                     U . S . A T T O R N E Y' S O F F I C E
                                     55 BEATTIE PLACE
                                     G R E E N V I L L E, S C 2 9 6 0 1

    F O R T H E D E F E N D A N T:    S T E P H A N I E A . R A I N E Y, E S Q U I R E
                                      RAINEY AND BROWN
                                      145 NORTH CHURCH STREET
                                      S P A R T A N B U R G, S C 2 9 3 0 6




                   ( E L E C T R O N I C S O U N D R E C O R D I N G T R A N S C R I P T I O N)




    ------------------------------------------------------------
                       B E T H A . K R U P A, R P R , C R R
                    UNITED STATES COURT REPORTER
                         401 WEST EVANS STREET
                          F L O R E N C E, S C 29501




                                 Beth A. Krupa, RPR, CRR
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                                                                                                                 2

1                         A T T O R N E Y W A S H I N G T O N:    Y o u r H o n o r, t h e g o v e r n m e n t

2        calls United States of America versus Jamal Demarcus

3        L a t i m e r, d o c k e t N o . 8 : 1 9 - 1 8 1 .      Mr. Latimer is present in the

4        c o u r t r o o m w i t h c o u n s e l S t e p h a n i e R a i n e y.

5                         Y o u r H o n o r, a t t h i s d e f e n d a n t' s a p p e a r a n c e o n t h e

6        2 6 t h o f l a s t m o n t h, t h e g o v e r n m e n t m o v e d f o r d e t e n t i o n.        The

7        government is prepared to go forward with its motion this

8        m o r n i n g.   I've talked with Ms. Rainey and she agrees or

9        consents to the government just proffering the evidence that

10       it would put on through a case agent normally and make the

11       agent available for any questioning that the defendant might

12       have.

13                        S o i f t h a t s u i t s t h e C o u r t, I ' l l b r i e f l y s u m m a r i z e

14       the evidence against this particular defendant and why we

15       b e l i e v e t h a t h e s h o u l d b e d e t a i n e d.

16                        T H E C O U R T:     W e l l, i t w a s m y u n d e r s t a n d i n g w e w e r e

17       trying to work out allowing him some time to be released so

18       t h a t h e c a n t a k e c a r e o f s o m e m e d i c a l i s s u e s.

19                        A T T O R N E Y W A S H I N G T O N:    Yes.

20                        T H E C O U R T:     W e l l, I w a s w o n d e r i n g, d o y o u w a n t t o

21       do the detention hearing now or once he's had an opportunity

22       to go --

23                        A T T O R N E Y W A S H I N G T O N:    I think it's probably

24       preferable to just go forward with the motion and then have

25       Your Honor rule on it and if the Court decides to set a bond




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1        so that he can attend to his medical issues --

2                           T H E C O U R T:     O k a y.

3                           A T T O R N E Y W A S H I N G T O N:   -- then that issue can be

4        dealt with also.

5                           T H E C O U R T:     O k a y.     M s . R a i n e y?

6                           A T T O R N E Y R A I N E Y:    No objection to proceeding that

7        way.

8                           T H E C O U R T:     O k a y.     I'll have the government

9        p r o f f e r i t s e v i d e n c e.

10                          A T T O R N E Y W A S H I N G T O N:   T h a n k y o u , Y o u r H o n o r.

11       J u d g e, t h e g o v e r n m e n t d o e s b e l i e v e t h i s i s a p r e s u m p t i o n

12       case.        The grand jury has found probable cause that this

13       defendant committed at least three violations for which the

14       m a x i m u m p o s s i b l e p e n a l t y i s l i f e.

15                          He's charged in Count 1 of an indictment that

16       c h a r g e s p o s s e s s i o n w i t h i n t e n t t o d i s t r i b u t e, c o n s p i r a c y t o

17       p o s s e s s w i t h i n t e n t t o d i s t r i b u t e h e r o i n, c o c a i n e a n d

18       F e n t a n y l.    H e ' s l o o k i n g a t t e n t o l i f e o n t h a t c h a r g e, Y o u r

19       H o n o r.

20                          H e ' s a l s o c h a r g e d i n C o u n t 1 0 o f t h e i n d i c t m e n t,

21       violation of Title 21 United States Code Section 841(a)(1),

22       t h a t s u b s t a n t i v e o f f e n s e, t h a t' s a p o s s e s s i o n w i t h i n t e n t t o

23       d i s t r i b u t e F e n t a n y l.    That carries ten to life.

24                          And he's charged in Count 13 which is maintaining

25       a s t a s h h o u s e.       The maximum possible penalty for that




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                                                                                                              4

1        o f f e n s e, J u d g e, i s 2 0 y e a r s.        F o r t h o s e r e a s o n s, Y o u r H o n o r,

2        the government believes that the presumption and the Bail

3        R e f o r m A c t d o e s a p p l y.

4                         Just very briefly on the facts of this case, I

5        know Your Honor has presided over previous hearings and has

6        reviewed various search warrants and affidavits for search

7        w a r r a n t s i n t h e c a s e d u r i n g t h e i n v e s t i g a t i o n o f t h e c a s e.

8                         But Your Honor will recall on September 25th of

9        last year, law enforcement received information that this

10       d e f e n d a n t c o n t a c t e d a s o u r c e, u n b e k n o w n s t t o h i m , a s o u r c e

11       w o r k i n g f o r D E A i n L a s C r u c e s, N e w M e x i c o l o o k i n g t o

12       p u r c h a s e a s i g n i f i c a n t a m o u n t o f h e r o i n a n d c o c a i n e.      That

13       i s , 1 0 k i l o g r a m s o f h e r o i n a n d 1 0 k i l o g r a m s o f c o c a i n e.

14                        M r . L a t i m e r s p e c i f i e d w h i t e C h i n a h e r o i n.    White

15       China heroin is a term used to refer to heroin of pure,

16       close to pure quality and also heroin combined with a

17       m i x t u r e o f F e n t a n y l.

18                        I t - - t h e g o v e r n m e n t l e a r n e d l a t e r o n , Y o u r H o n o r,

19       that -- and Mr. Latimer during the recorded meeting with the

20       s o u r c e w a s t o u s e t h e h e r o i n, t h e w h i t e C h i n a h e r o i n t o

21       p r e s s p i l l s, t u r n t h e p o w d e r s u b s t a n c e i n t o p i l l s, w h i c h i s

22       i n h e r e n t l y d a n g e r o u s, J u d g e.

23                        A n d i n t h i s p a r t i c u l a r c a s e, t h e i n d i v i d u a l s

24       charged in the indictment were using basically a home lab.

25       T h e m a i n d e f e n d a n t, M r . M c G o w a n, w a s t h e p r i m a r y




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                                                                                                                5

1        m a n u f a c t u r e r o f t h e p i l l s.    He has no pharmacological

2        e x p e r i e n c e, n o k n o w l e d g e o f p h a r m a c y - - o f p r e s s i n g o f p i l l s

3        o r a n y o t h e r p h a r m a c o l o g i c a l e x p e r i e n c e o r k n o w l e d g e.

4                         J u d g e, i t ' s p a r t i c u l a r l y d a n g e r o u s b e c a u s e s o m e o n e

5        in that position or somebody manufacturing pills under those

6        c i r c u m s t a n c e s, t h e d o s a g e s c o u l d v a r y f r o m p i l l t o p i l l a n d

7        I think it's common knowledge these days that Fentanyl is

8        r e p o r t e d t o b e 5 0 t o a h u n d r e d t i m e s s t r o n g e r t h a n m o r p h i n e.

9                         And to a user, one who is intending to use

10       Oxycodone or some other counterfeit prescription pill or one

11       who is intending to use heroin would be -- not be on notice

12       as to the dosage he or she might be ingesting if using a

13       pill purchased by someone who was manufacturing in a home

14       lab.

15                        N e v e r t h e l e s s, J u d g e, t h i s d e f e n d a n t p r o c e e d e d w i t h

16       what the individual whom he thought was a Mexican source for

17       c o c a i n e a n d h e r o i n.    Mr. Latimer arranged to fly out to El

18       P a s o t o m e e t w i t h t h i s s o u r c e.       It turns out the source was

19       a t t h a t t i m e w o r k i n g f o r D E A L a c C r u c e s.

20                        D u r i n g t h e r e c o r d e d m e e t i n g, M r . L a t i m e r w e n t i n t o

21       great detail about the operation here in South Carolina and

22       how the powdered cocaine and Fentanyl was to be distributed

23       and how they had distributed through night clubs in and

24       a r o u n d G r e e n w o o d.

25                        A f t e r t h e m e e t i n g o r a t t h e e n d o f t h e m e e t i n g,




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                                                                                                                 6

1        Mr. Latimer had arranged the purchase of 10 kilograms of

2        cocaine and heroin in exchange for $760,000.                                   That delivery

3        was scheduled to occur in Greenville on October 23rd.

4                         Law enforcement set up surveillance on

5        October 23rd and indeed Mr. Latimer and some of his other

6        c o d e f e n d a n t s g a t h e r e d t o g e t h e r, c o m p i l e d t h e m o n e y, a n d

7        arranged to meet still individuals whom they thought were

8        cocaine and heroin sources to consummate the transaction

9        that had been arranged in El Paso.

10                        En route to the transaction or supposed

11       t r a n s a c t i o n, l a w e n f o r c e m e n t s e i z e d o v e r a m i l l i o n d o l l a r s

12       f r o m M r . L a t i m e r a n d o t h e r s c h a r g e d i n t h e i n d i c t m e n t.        Your

13       H o n o r, i n D e c e m b e r, l a t e D e c e m b e r, D e c e m b e r 2 8 t h o f l a s t

14       year, Judge Coggins issued an order authorizing the

15       interception of wire communications over a phone used by

16       Mr. Latimer at the time.

17                        D u r i n g t h e i n t e r c e p t i o n p e r i o d, a g e n t s l e a r n e d o f

18       a seizure that occurred in -- actually prior to the order

19       b e i n g i n e f f e c t, a g e n t s l e a r n e d o f a s e i z u r e t h a t o c c u r r e d

20       in North Carolina involving an individual named Deandre

21       Miles and learned that Mr. Miles had actually identified

22       Mr. Latimer as a source of the over 10,000 pills that law

23       e n f o r c e m e n t s e i z e d f r o m h i m i n t h e C h a r l o t t e, N o r t h C a r o l i n a

24       area.

25                        Y o u r H o n o r, t h o s e p i l l s t h a t w e r e s e i z e d f r o m




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                                                                                                                 7

1        Mr. Miles were, indeed provided by Mr. Latimer and tested

2        p o s i t i v e f o r t h e p r e s e n c e o f F e n t a n y l.      I n a d d i t i o n, J u d g e,

3        the Fentanyl -- the Fentanyl pills that were seized from

4        M r . M i l e s i n N o r t h C a r o l i n a p r o v i d e d b y t h i s d e f e n d a n t, t h e

5        g o v e r n m e n t b e l i e v e s w e r e s u p p l i e d b y D e t r i c M c G o w a n,

6        s u p p l i e d a n d m a n u f a c t u r e d b y D e t r i c M c G o w a n.

7                         The monikers or labels on the pills that

8        Mr. McGowan has admitted to manufacturing included the V and

9        the 4812 on one side and were consistent with all other

10       seizures of pills that the government believes were

11       m a n u f a c t u r e d b y M r . M c G o w a n.

12                        J u d g e, t h e g o v e r n m e n t b e l i e v e s t h a t t h e C o u r t i s

13       to consider both the strength of the evidence and other

14       factors under the Bail Reform Act.                             The government believes

15       that the case is strong against this particular defendant

16       and the government is aware of no evidence that is

17       sufficient to rebut the presumption under the Bail Reform

18       Act and believes that detention is the appropriate -- or no

19       b o n d i s a p p r o p r i a t e f o r t h e d e f e n d a n t.      He's both a flight

20       risk and danger to the community given the nature of the

21       c h a r g e s.

22                        A T T O R N E Y R A I N E Y:      T h a n k y o u , Y o u r H o n o r, m a y i t

23       p l e a s e t h e C o u r t.    A s i t r e l a t e s t o m y m o t i o n, I d i d m a k e a

24       m o t i o n f o r b o n d c o n c e r n i n g M r . L a t i m e r.     There are a few

25       factors to consider in the bond.




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                                                                                                               8

1                         First of all, Mr. Latimer is a life-long resident

2        o f G r e e n w o o d C o u n t y.    His family is actually here in the

3        C o u r t.   T h e y ' v e b e e n p r e s e n t a t e v e r y c o u r t h e a r i n g.

4        They're very active and engaged and concerned about his

5        well-being as well as resolving this case.

6                         S e c o n d l y, M r . L a t i m e r h a s n o c r i m i n a l h i s t o r y.       He

7        h a s a f e w s p e e d i n g t i c k e ts , t r a f f i c v i o l a t i o n s, b u t n o

8        serious criminal history and that is a factor that the Court

9        must consider under the Bail Reform Act.

10                        T h i r d l y, M r . L a t i m e r t u r n e d h i m s e l f i n .      When he

11       d i s c o v e r e d t h a t h e w a s a w a n t e d i n d i v i d u a l, I c o n t a c t e d

12       M s . W a s h i n g t o n, M s . W a s h i n g t o n c o n t a c t e d t h e D E A a g e n t,

13       within an hour and a half Mr. Latimer had turned himself in.

14                        T h i r d l y o r f o u r t h l y, m o s t i m p o r t a n t l y, M r . L a t i m e r

15       h a s a s e r i e s o f m e d i c a l c o n d i t i o n s t h a t r e q u i r e a t t e n t i o n.

16       On February 27th he was scheduled for a laparoscopic surgery

17       w i t h r e p a i r o f h i s e s o p h a g e a l h e r n i a.

18                        H i s m e d i c a l c o n d i t i o n s a r e h e h a s a h i a t a l h e r n i a,

19       h e h a s h y p e r t e n s i o n, h e h a s r e f l u x g a s t r i t i s, h e h a s a n

20       u l c e r o f t h e s t o m a c h a n d i n t e s t i n e s.     Y o u r H o n o r, w e h a v e

21       taken the liberty to schedule appointments with Greenwood

22       endo -- endo --

23                        T H E C O U R T:     I know what you're trying to say.

24                        A T T O R N E Y R A I N E Y:   E n d o s c o p y c e n t e r, t h a t

25       appointment is scheduled for Wednesday the 17th at 1:45.




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                                                                                                              9

1        H i s d o c t o r w i l l b e D r . G i l c h r i s t.     We've also taken the

2        liberty to schedule an appoint with the surgeon which will

3        be on Tuesday the 16th at 4:00 p.m.

4                         T H E C O U R T:     A p r i l?

5                         A T T O R N E Y R A I N E Y:      Yes, ma'am.       Dr. Gilchrist is

6        h i s p r i m a r y c a r e p h y s i c i a n.     He is a doctor that originally

7        s e t h i m u p f o r t h e s u r g i c a l r e f e r e n c e.     The Greenville

8        Hospital system will probably more than likely be performing

9        t h e s u r g e r y.

10                        Y o u r H o n o r, i n c o n s i d e r i n g t h e f a c t o r s u n d e r t h e

11       Bail Reform Act, we would like to just say again Mr. Latimer

12       h a s n o c r i m i n a l h i s t o r y.        He does not represent a flight

13       risk because he turned himself in.                             Nobody had to go out and

14       look for him.

15                        A d d i t i o n a l l y, o n e o f t h e f a c t o r s t h a t t h e C o u r t

16       m u s t c o n s i d e r i s h i s p h y s i c a l c o n d i t i o n, t h a t f a c t o r p l a y s

17       m a j o r l y i n t o o u r m o t i o n.        He is not able to hold food down

18       at the jail.

19                        He's reported -- I actually have medical notes

20       from the jail where he's reported to the nurses that he's

21       h a v i n g p r o b l e m s.   T h e y' r e t r y i n g t o g e t h i m h i s m e d i c a t i o n,

22       b u t h i s m e d i c a t i o n m a k e s h i m s l e e p y.

23                        H e s t i l l - - o n c e h e e a t s, h e ' s s t i l l v o m i t i n g

24       b l o o d a n d d i f f e r e n t s o u r c e s, s o h e ' s d e s p e r a t e l y i n n e e d o f

25       s o m e s u r g e r y.     His doctor saw fit to schedule an appointment




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                                                                                                       10

1    e v e n c o n s i d e r i n g h i s c o n d i t i o n a t t h i s p o i n t, w h e r e h e ' s

2    l o c a t e d.

3                      S o , J u d g e, w e w o u l d a s k f o r a s e c u r ed b o n d .       His

4    f a m i l y i s h e r e i n t h e c o u r t r o o m.     They have certain

5    p r o p e r t i e s.   I t ' s n o t h i g h l y v a l u e d p r o p e r t y, b u t I t h i n k

6    his grandmother is willing to put up her property at

7    Reynolds Avenue and the value of that is 75,000.

8                      S o w e w o u l d a s k f o r a s e c u r e d b o n d.       I don't think

9    that he's a flight risk.                    I'm certain that he will be in

10   court every time.               H e d o e s n' t r e p r e s e n t a t h r e a t t o a n y b o d y

11   i n t h i s c a s e , a n y d e f e n d a n t, p o t e n t i a l w i t n e s s o r a

12   p o t e n t i a l j u r o r.

13                     S o b a s e d o n t h e f o r e g o i n g, Y o u r H o n o r, w e a s k j u s t

14   for a secured bond so that he can get the treatment that he

15   n e e d s a n d s o t h a t h e c a n r e a l l y g e t h e a l t h y.       He's wanting

16   t o d e a l w i t h t h e c a s e, b u t h e ' s j u s t n o t i n a c o n d i t i o n

17   where he's able to at this time.                         T h a n k y o u , Y o u r H o n o r.

18                     T H E C O U R T:   This is for the government and

19   M s . R a i n e y, m y d i l e m m a h e r e i s I d o b e l i e v e t h a t t h e

20   g o v e r n m e n t h a s m e t t h e i r b u r d e n f o r d e t e n t i o n, h o w e v e r, I

21   also believe that Mr. Latimer should be given an opportunity

22   t o g o o u t a n d g e t t h e s u r g e r y, e s p e c i a l l y s i n c e i t w a s

23   s c h e d u l e d p r i o r t o h i s a r r e s t.

24                     Based on the nature of the charges and the

25   allegations against him, the facts that the government has




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                                                                                                         11

1    laid out, I don't find he's a flight risk, but I do find

2    t h a t h e ' s a d a n g e r t o t h e c o m m u n i t y, s o t h a t b e i n g s a i d, i f

3    you all can help me out here.                            I mean what I could do is

4    j u s t t a k e t h e m o t i o n f o r d e t e n t i o n u n d e r a d v i s e m e n t, b u t i n

5    the meantime let him -- give him a bond to go out and get

6    the treatment taken care of.

7                     Then once he's had the surgery and had an

8    o p p o r t u n i t y t o r e c o v e r, c o m e b a c k a n d r u l e a t t h a t t i m e.        Or

9    if the government is insistent that I rule now, I can go

10   ahead and make a ruling now and maybe come back and revisit

11   a f t e r h e ' s h a d t h e s u r g e r y.

12                    I'm -- I believe that he should have an

13   o p p o r t u n i t y t o g o g e t t h i s , t o g e t h i s h e a l t h b a c k i n o r d e r.

14   Well, if you all want to talk and tell me how you want to

15   handle this.

16                    ( B r i e f p a u s e. )

17                    A T T O R N E Y W A S H I N G T O N:      I t h i n k - - J u d g e, j u s t g i v e n

18   f o r p r o c e d u r a l p u r p o s e s, I t h i n k i t p r o b a b l y w o u l d b e b e s t

19   t h a t t h e C o u r t j u s t r u l e o n t h e g o v e r n m e n t' s m o t i o n.

20                    T H E C O U R T:     O k a y.

21                    A T T O R N E Y W A S H I N G T O N:      I understand that the Court

22   i s i n c l i n e d t o s e t a b o n d o n t h i s p a r t i c u l a r d e f e n d a n t, s o

23   w e c a n m o v e t o t h a t p h a s e o f t h i s h e a r i n g, b u t t h a t a t l e a s t

24   w e ' v e r e s o l v e d t h e d e t e n t i o n i s s u e.

25                    T H E C O U R T:     R i g h t.        O k a y.




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                                                                                                        12

1                      A T T O R N E Y R A I N E Y:    W e ' r e i n a g r e e m e n t.

2                      T H E C O U R T:     O k a y.     So what I'm going to do for

3    purposes of today is I'm going to set bond at $75,000

4    s e c u r e d w i t h s t a n d a r d c o n d i t i o n s, b u t I a m g o i n g t o i m p o s e

5    home detention with location monitoring which will be GPS

6    m o n i t o r i n g.

7                      I'm also going to require that Mr. Latimer keep

8    probation up to date with the status of your medical

9    t r e a t m e n t o n a w e e k l y b a s i s.           I understand from Ms. Rainey

10   that you've got appointments scheduled for the 17th and the

11   16th right now.

12                     So whenever the schedule -- the surgery is

13   s c h e d u l e d, o n c e t h e s u r g e r y h a s b e e n c o m p l e t e d, t h e n w e w i l l

14   reconvene and have a status conference and just kind of see

15   where -- how he's doing on bond.

16                     L i k e I s a i d, m y c o n c e r n i s w i t h t h e a m o u n t o f

17   p r o d u c t, d r u g s, t h e n a t u r e o f t h e d r u g s t h a t w e r e b e i n g

18   m o v e d, h e ' s a d a n g e r t o t h e c o m m u n i t y a n d t h a t ' s a c o n c e r n

19   for me.         But since I'm kind of being put in the position

20   w h e r e I h a v e t o r u l e t o d a y, I ' m g o i n g t o s e t a b o n d s o t h a t

21   he can get his health taken care of.

22                     A T T O R N E Y W A S H I N G T O N:     Would Your Honor consider

23   h o m e c o n f i n e m e n t r a t h e r t h a n h o m e d e t e n t i o n?

24                     T H E C O U R T:     Home confinement would require that if

25   h e h a s t o g o t o a d o c t o r' s a p p o i n t m e n t t h e n t h e y w o u l d h a v e




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                                                                                                         13

1    to get -- you can help me with this -- probation would have

2    t o c a l l m e t o g e t p e r m i s s i o n f o r h i m t o g o t o a d o c t o r' s

3    a p p o i n t m e n t.    W h e r e a s i f I d o h o m e d e t e n t i o n, t h e n h e w o u l d

4    just have to go through probation and they can handle it and

5    m a k e t h e d e c i s i o n.       A m I s a y i n g t h a t a c c u r a t e l y?

6                      A T T O R N E Y W A S H I N G T O N:     My only concern is that his

7    leaving whatever residence he's to live at or be confined in

8    to serve this home detention period that he not leave for

9    a n y o t h e r r e a s o n o t h e r t h a n d o c t o r' s a p p o i n t m e n t s.

10                     That's why I thought that home confinement might

11   b e m o r e s u i t a b l e.      I don't -- this defendant does not have a

12   j o b a n d h e ' s n o t i n s c h o o l.

13                     T H E C O U R T:      The home detention does the same

14   t h i n g, r i g h t?

15                     A T T O R N E Y W A S H I N G T O N:     As long as his only basis

16   f o r l e a v i n g, Y o u r H o n o r i s o n l y a l l o w i n g h i m t o l e a v e t h e

17   r e s i d e n c e t o a t t e n d t o d o c t o r' s a p p o i n t m e n t s a n d - -

18                     T H E C O U R T:      T a l k t o h i s l a w y e r.     M r . L a t i m e r, I

19   w a s g o i n g t o c a l l y o u J a m a l.             So I'm trying to give you an

20   o p p o r t u n i t y h e r e t o d a y.     I don't want you sitting in the

21   jail getting worse since this was already a condition that

22   y o u h a d b e f o r e y o u w e r e a r r e s t e d.

23                     Y o u c a n s t a y s e a t e d, e i t h e r o n e , s o I ' m t r y i n g t o

24   give you an opportunity to go get your health taken care of,

25   but I'm going to need you to follow the conditions of bond




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                                                                                                      14

1    because I don't, you know, before you have your surgery for

2    the government to come back in here and say he's not

3    f o l l o w i n g t h e c o n d i t i o n s, l o c k h i m b a c k u p .    Do you

4    u n d e r s t a n d w h a t I ' m s a y i n g?

5                      Make sure you go over the conditions of bond with

6    M s . R a i n e y.       I f y o u h a v e a n y q u e s t i o n s, a s k h e r .    She can

7    g u i d e y o u o n h o w t o m a k e s u r e y o u s t a y c o m p l i a n t, b u t h o m e

8    detention means that -- and I'm assuming that probation has

9    a l r e a d y c o n f i r m e d a n a d d r e s s?

10                     A T T O R N E Y R A I N E Y:    His mom is here.            She can

11   confirm it with them.

12                     T H E C O U R T:     O k a y.      I'll just have you confirm the

13   a d d r e s s w i t h p r o b a t i o n b e f o r e h e l e a v e s, b u t t h a t j u s t m e a n s

14   t h a t y o u a r e a t t h a t a d d r e s s u n l e s s y o u h a v e a d o c t o r' s

15   a p p o i n t m e n t t h a t y o u n e e d t o g o t o , t h o s e d o c t o r' s

16   a p p o i n t m e n t s n e e d t o b e c o n f i r m e d w i t h p r o b a t i o n, s o y o u

17   d o n ' t l e a v e y o u r h o u s e u n l e s s y o u ' r e g o i n g t o a d o c t o r' s

18   a p p o i n t m e n t.

19                     I f y o u h a v e a n a p p o i n t m e n t w i t h y o u r a t t o r n e y,

20   c a l l p r o b a t i o n, l e t t h e m k n o w t h a t , y o u k n o w , w h a t t i m e i t

21   i s , w h e r e y o u n e e d t o g o a n d w h e n y o u ' r e g o i n g t o b e b a c k,

22   okay.        A m I m i s s i n g a n y t h i n g?

23                     A T T O R N E Y W A S H I N G T O N:   Is Your Honor going to allow

24   M r . L a t i m e r t o b e r e l e a s e d p e n d i n g t h e b o n d b e i n g p o s t e d?    I

25   understand there might be some time needed to make sure that




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                                                                                                           15

1    t h e b o n d o r t h e p r o p e r t y t h a t' s b e i n g u s e d t o s e c u r e t h e

2    b o n d i s s u f f i c i e n t.

3                     A T T O R N E Y R A I N E Y:       W e w o u l d m o v e , Y o u r H o n o r, t h a t

4    he be released pending the house being certified as

5    a p p r o p r i a t e f o r b o n d.     A g a i n, h e i s g o i n g t o s u b m i t - - h e

6    w i l l b e o n h o m e d e t e n t i o n, h o m e c o n f i n e m e n t a s o f t o d a y

7    b e f o r e h e ' s a l l o w e d t o l e a v e, s o I d o n ' t - -

8                     T H E C O U R T:       Is it possible for them to get the

9    r e c o r d s t o t h e c l e r k' s o f f i c e t o d a y t o s h o w t h e v a l u e, t h a t

10   i t d o e s n' t h a v e a n y l i e n s o n i t ?            I would like for the bond

11   t o b e i n p l a c e b e f o r e h e ' s r e l e a s e d.

12                    A T T O R N E Y R A I N E Y:       I h a v e a n a p p r a i s a l r e p o r t, b u t

13   I will check about the liens and everything else.

14                    T H E C O U R T:       O k a y.

15                    ( B r i e f p a u s e. )

16                    T H E C O U R T:       M s . R a i n e y, t h e c l e r k h a s i n f o r m e d m e

17   t h a t t h e y n e e d r e c o r d s f r o m t h e t a x o f f i c e.

18                    A T T O R N E Y R A I N E Y:       T h i s i s t h e t a x o f f i c e, w o u l d

19   t h a t b e s u f f i c i e n t?       Yes, ma'am.            She's going to go get it

20   t o d a y.   T h e y ' r e g o i n g b a c k t o G r e e n w o o d, b u t t h e y w i l l m a k e

21   t h e i r w a y b a c k a n d t r y t o g e t h e r e a s s o o n a s p o s s i b l e.               Can

22   they print it out online?                          W o u l d t h a t b e s u f f i c i e n t?

23                    ( B r i e f p a u s e. )

24                    A T T O R N E Y R A I N E Y:       T h e y ' l l g o t o G r e e n w o o d.

25   T h e y ' l l g e t i t d o n e t o d a y a s s o o n a s p o s s i b l e.




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                                                                                                                16

1                         T H E C O U R T:     O k a y.       Just as soon as they can get it

2    d o n e , b u t h e w i l l n o t b e r e l e a s e d u n t i l t h a t i s c o n f i r m e d.

3                         A T T O R N E Y R A I N E Y:       Yes, ma'am.

4                         T H E C O U R T:     A n y t h i n g f u r t h e r?

5                         A T T O R N E Y R A I N E Y:       N o t h i n g f r o m t h e d e f e n d a n t, Y o u r

6    H o n o r.

7                         T H E C O U R T:     O k a y.       Anything further from

8    p r o b a t i o n?

9                         P R O B A T I O N O F F I C E R:      N o , Y o u r H o n o r.

10                        T H E C O U R T:     O k a y.       Thank you.

11                        ( H e a r i n g w a s c o n c l u d e d. )

12                ***********************************************

13                                       CERTIFICATE OF REPORTER

14

15            I certify that the foregoing is a correct transcript of

16   t h e p r o c e e d i n g s, t o t h e b e s t o f m y a b i l i t y, t a k e n f r o m

17   e l e c t r o n i c s o u n d r e c o r d i n g s i n t h e a b o v e- e n t i t l e d m a t t e r.

18

19     /S/ Beth A. Krupa                                                         May 1, 2019

20     B e t h A . K r u p a, R P R , C R R                         Date
       Official Court Reporter
21     United States District Court
       District of South Carolina
22

23

24

25




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